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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;0&lt;/A&gt;-00&lt;A NAME="2"&gt;648&lt;/A&gt;-CV&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;/STRONG&gt;&lt;CENTER&gt;&lt;A NAME="3"&gt;In re PricewaterhouseCoopers, L.L.P., as Successor to Coopers &amp;amp; Lybrand, L.L.P.;&lt;/CENTER&gt;


&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;and Coopers &amp;amp; Lybrand, L.L.P.&lt;/A&gt;&lt;/CENTER&gt;
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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;ORIGINAL PROCEEDING FROM TRAVIS COUNTY &lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;

&lt;P&gt;	Relators' petition for writ of mandamus is denied.  Tex. R. App. P. 52.8(a).  &lt;/P&gt;

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&lt;P&gt;Before Chief Justice Aboussie, Justices Kidd and B. A. Smith&lt;/P&gt;

&lt;P&gt;Filed:   November 9, 2000&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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